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                  Exhibit B
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                                 AFFIDAVIT OF MŨKOMA NGŨGĨ

I swear under penalty of perjury that the following is true and correct:

   1. My name is Mũkoma Ngũgĩ, I am a Professor at Cornell University in the Department of

       Literatures in English and I reside in Tompkins County, New York.

   2. I am the author of numerous non-fiction works, novels and volumes of poetry focusing on the

       struggle of the people of the African continent for liberation from the centuries-long impact of

       colonial exploitation. My work is recognized and taught world wide.

   3. I have been a close associate and friend of Momodou Taal on campus. I have mentored him, I

       have helped him as he navigates his academic career, and I’ve also been someone to whom he

       has often come for personal advice about the best way to maintain his political and personal

       integrity while also teaching his courses in an objective way. I have great respect for the way he

       has stood up for himself and expressed his views about what Israel has done to the population of

       Palestine. His principled stance against all oppressions (including racial, class, gender,

       sexuality), is something I admire about him. Momodou Taal is a brilliant student that any

       professor would be happy to have in class.

   4. Since the issuance of the executive orders by Trump, I have been deprived of my right to listen

       to my colleague’s views and opinions. I want to help him develop his scholarship, but this is very

       hard to do under conditions where I am worried about whether the university or outside forces

       will monitor and report the things that we say to each other, either in class or otherwise.

   5. As a result of the executive orders, Momodou and I have stopped engaging with each other in

       public in the way we used to. It has been hard for me, as someone who always values what he

       has to say, to reconcile my desire to keep teaching others with my desire to speak up against his

       being silenced. I truly wish I could call a public meeting—or even invite professors to dinner to
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      meet with Momodou and hear his perspective on things—but I can’t. I’m too worried about

      putting him at risk of deportation, since I’m also associated with criticism of U.S. foreign policy

      and the policies of the government of Israel. I do also worry about whether my own association

      in public with Momodou would be seen as “anti-Semitic.” Neither of us has any ill feelings

      toward our Jewish colleagues and friends who have struggled with us against oppression and

      state violence.

   6. I will say that I am particularly upset that Momodou was forced to miss his book launch. I know

      that for an author, a book launch is a critical moment in one’s academic and intellectual life.

      There is something about shaking hands with one’s readers, hearing their thoughts, talking to

      them in person, signing their copies—Momodou missed out on all of this because he has a

      legitimate fear of being turned away at the border for no good reason, given that the things he

      said while residing in the U.S. should be protected by the Constitution.

   7. I am afraid of being subjected to criminal prosecution as a result of the second executive order

      that mentions “anti-Semitism” without a clear definition. I have been critical of multiple

      governments (African governments, the Israeli government, the US government) and I don’t

      believe we should conflate criticism of the State with criticism of a State’s citizenry.

   8. I believe the legal term is “irreparable harm.” I certainly feel that I’ve been harmed in a way that

      I can’t repair unless and until I’m able to speak freely and openly with Momodou Taal again.



Signed,

                                                            Date: 14th March 2025
